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                       UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                            Criminal No. 08-063 (JRT/JSM)

                                 Plaintiff,

v.
                                                       ORDER DENYING
(1) CAROLYN M. LOUPER-MORRIS                       DEFENDANTS’ MOTION FOR
                                                         NEW TRIAL
and

(2) WILLIAM J. MORRIS, JR.,

                               Defendants.


      David M. Genrich, John R. Marti, and Timothy C. Rank, Assistant United
      States Attorneys,, OFFICE OF THE UNITED STATES ATTORNEY,
      600 United States Courthouse, 300 South Fourth Street, Minneapolis, MN,
      55415, for plaintiff.

      Paul J. Edlund, 212 Third Avenue North, Suite 545, Minneapolis, MN,
      55401, for defendant Louper-Morris.

      Lyonel Norris, Assistant Federal Defender, OFFICE OF THE
      FEDERAL DEFENDER, 300 South Fourth Street, Suite 107,
      Minneapolis, MN, 55415; for defendant Morris.


      On February 2, 2010, a jury convicted defendants Carolyn Louper-Morris and

William Morris, Jr. on several charges relating to a scheme employing an online tutorial

program and computers to fraudulently obtain an educational tax credit. (Docket Nos.




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80-81.) Defendants have moved for a new trial, claiming that the government’s alleged

intimidation of a potential defense witness denied them due process. (Docket No. 96.)1


                                     BACKGROUND

       The Court ordered an evidentiary hearing on June 30, 2010 to address the

allegations which form the basis for the instant motion. (See Tr., Docket No. 99.)

During the trial, Michelle Garcia-Strait was initially called as a potential defense witness,

and arrived at the courthouse to offer testimony in this case. (Id. at 4.) While she was

waiting in the defense room Inspector Mary Agnew, a government agent, asked

Ms. Garcia-Strait “to come with her to go over some question” in the prosecution’s room

across the hall (Id. at 5.) During an approximately five to ten minute conversation,

Inspector Agnew asked Ms. Garcia-Strait about the subject of her testimony. (Id. at 6,

12.) Specifically, Ms. Garcia-Strait was asked about the information she had previously

disclosed to the defense. (Id. at 14.) When Ms. Garcia-Strait could not recall the answers

to Inspector Agnew’s questions about her payments from defendants’ enterprise,

Ms. Agnew “pulled out a packet” including information such as Ms. Garcia-Strait’s

driver’s license and “[what] looked like [her] statement to the defense” to help her recall

the information. (Id. at 6.) On the basis of these actions, Ms. Garcia-Strait allegedly “felt

intimidated[.]” (Id.)



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          Defendant Louper-Morris also moved the Court to continue her sentencing pending the
disposition of the instant motion. (Docket No. 111.) The Court denied the motion to continue
sentencing. (Docket No. 112.)



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       Ms. Garcia-Strait testified that she was never told by the government that she

should not testify, nor was she threatened in any way. (Id. at 8.) To the contrary,

according to Ms. Garcia-Strait she was still willing to testify but defense counsel told

her to leave. (See id. at 19-20, 24.)2 As both defense counsel and Ms. Garcia-Strait

explained, the concern with Ms. Garcia-Strait’s testimony was her vulnerability to cross-

examination about her pending fraud and forgery charges in state court. (See id. at 25-26;

see also Mem. in Opp’n at 4, Docket No. 101 (citing defense counsel Edlund’s statement

on January 29, 2010 that “if we’re not able to know what the government would cross her

on, we would then not be able to put her up in good faith on behalf of our clients because

that would then potentially expose her to cross-examination on allegations of fraud”).)

The following colloquy occurred between the government and Ms. Garcia-Strait during

the June 30, 2010 hearing:

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           As Ms. Garcia-Strait explained:

       Q:     So following the lunch break, court reconvenes?
       A:     Mm-hmm (Yes).
       Q:     And did you have another conversation with one or both of the defense
              lawyers?
       A:     Yes, I did, with Mr. Morris’s attorney at the time.
       Q:     Okay. Mr. Kelly?
       A:     Yes.
       Q:     And what did you tell Mr. Kelly at that time?
       A:     That I wanted to testify still.
       Q:     Okay. And what did Mr. Kelly say?
       A:     He said, I thought I told you to leave.

(Id. at 18-19 (emphasis added).)



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       Q.   And this is with respect to the felony fraud and forgery charges that
            you had pending in Wright County, correct?
       A.   Yes.
       Q.   You were operating a charter school in Wright County, the
            Kaleidoscope School?
       A.   What does this have to do with my testimony today?
       Q.   You said that one of the things that Mr. Kelly [defense counsel] was
            trying to figure out was whether you would get cross-examined on
            those issues?
       A.   Correct. This is exactly why I was afraid to testify, yes.
       Q.   You were afraid to testify because you could get cross-examined
            on --
       A.   By you, yes.
       Q.     -- on issues related to your pending felony fraud and forgery charges?
       A.     Yes.

(Tr. at 25-26, Docket No. 99 (emphasis added).)

       Nonetheless, Ms. Garcia-Strait subsequently sent both an email and facsimile

communication to the Court expressing her concern that she had been intimidated by the

government (id. at 4-5), and defendants now argue that the government’s alleged

intimidation prevented her from testifying in violation of their due process rights.


                                      DISCUSSION

       As an initial matter, the Court notes that the parties were instructed to file any

motions based on Ms. Garcia-Strait’s testimony within fourteen days of the June 30, 2010

hearing. (See Minute Entry, Docket No. 95.) Defendants filed the instant motion fifteen

days later, on July 15, 2010. (Docket No. 96.)




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        Putting aside issues of timeliness, however, the Court concludes that defendants’

motion for new trial is without merit and must be denied. A defendant’s “right to present

his own witnesses to establish a defense . . . is a fundamental element of due process of

law.”    Washington v. Texas, 388 U.S. 14, 19 (1967).              Substantial government

interference with a defense witness’s choice to testify may violate a defendant’s due

process right to present unhampered testimony of witnesses in his defense. See, e.g.,

United States v. MacCloskey, 682 F.2d 468, 475, 479 (4th Cir. 1982) (new trial warranted

where a United States Attorney made an “eleventh hour call” to an attorney for a witness

against whom charges had been dropped and stated that the attorney should advise his

client that “if she testified . . . she could be reindicted if she incriminated herself during

that testimony”); United States v. Hammond, 598 F.2d 1008, 1012 (5th Cir. 1979) (due

process violation where an FBI agent threatened to retaliate against a defense witness,

promising “nothing but trouble” in Colorado where the witness faced a state indictment).

        As the above record citations make clear, the government’s alleged intimidation in

this case does not even approach the type of conduct which has provided a basis for

finding a due process violation. A government agent questioned Ms. Garcia-Strait for

five to ten minutes about the same information she had previously disclosed to the

defense. (See Tr. 4-14, Docket No. 99.) As Ms. Garcia-Strait conceded, the government

did not tell her not to testify or threaten her in any way. (Id. at 8.) Defense counsel

decided not to call Ms. Garcia-Strait, and Ms. Garcia-Strait was concerned about

testifying, because of the possibility that she would be subject to cross-examination




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about pending state charges against her. (See Tr. 19-20, 24-26, Docket No. 99; see

also Mem. in Opp’n at 4, Docket No. 101.)

      On this record, the Court cannot conclude that any impermissible governmental

interference occurred, let alone to a degree warranting a new trial. Defendants’ assertions

that Ms. Garcia-Strait “was alone in unfamiliar surroundings” during her discussion with

the government agent, that she was shown a folder of documents including a copy of her

interview with the defense, and that the agent “could have asked her questions in the

hallway” but instead spoke with her behind a closed door do not compel a different result.

(Reply to Opp’n at 2, Docket No. 105); see United States v. Anwar, 428 F.3d 1102, 1113

(8th Cir. 2005) (finding no constitutional violation where government’s allegedly

intimidating comments did not cause witness to refuse to testify and witness was present

at the courthouse but not called by the defense). Although government agents need to be

careful in approaching defense witnesses to avoid intimidation, the Court finds that no

impermissible conduct occurred in this case.

      Even if the government had somehow interfered with defendants’ right to present

witnesses, a proposition devoid of evidentiary support, the Court concludes that

Ms. Garcia-Strait’s testimony would not have affected the outcome in this case given the

weight of evidence supporting defendants’ conviction. See Peeler v. Wyrick, 734 F.2d

378, 381-82 (8th Cir. 1984) (harmless error analysis applicable to a motion for new trial

based on a claim of witness intimidation).




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                                     ORDER

     Based on the foregoing, and all the files, records, and proceedings herein, IT IS

HEREBY ORDERED that defendants’ motion for new trial [Docket No. 96] is

DENIED.


DATED: September 29, 2010                     ____s/                     ____
at Minneapolis, Minnesota.                          JOHN R. TUNHEIM
                                                United States District Judge




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